Case 8:19-bk-03039-RCT Doc1 Filed 04/03/19 Page 1of8

   

po ge
* : a EY
' ai
8 foc eae
Fill in this information to identify your case:
: o f a3 mr DARD Ge NF
‘ ~ bore EG

United States Bankruptcy Court for the:
Hdd le District of Florida, cones

| Case number ut known): Chapter you are filing under:
B Chapter 7
C2 Chapter 14
C) chapter 12 : Co
O) chapter 13 [2 Check if this is an
: amended filing

 

 

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2. The
same person must be Debtor 7 in all of the forms.

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

ent Yue #47505

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name
Write the name that is on your Y deals Q
government-issued picture 6 -
identification (for example, Fast name First name
your driver's license or

 

 

 

 

 

 

 

 

 

 

 

 

passport). Middle name Middle name
he
Bring your picture BA CEN
identification to your meeting —- Last name Last name
with the trustee.
Suffix (Sr, or HH) Suffix (Sr, Jn IL a
2, All other names you
have used in the last 8 First name First name
years
Include your married or Middle name Middle name
maden names.
Last name Last name
First name First name
Middle name Middle name
Last name’ Last name
3, Only the last 4 digits of 6 7
your Social Security XRK XK — 4 b. ROK ee ee
number or federal OR OR
Individual Taxpayer
Identification number 9xK XK 9x = xK =
(TIN)
Official Form 104 Voluntary Petition for individuals Filing for Bankruptcy page 1

H 235.00 CH
Case 8:19-bk-03039-RCT Doc1 Filed 04/03/19 Page 2 of 8

Debtor 1

 

Pust horn

Beda boca

Lae Kozwe

 

4. Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

Include ade names and
doing business as names

About Debtor 1:

Case number (¢ awn

 

(2 | have not used any business names or EINs.

About Debtor 2 (Spouse Only in a Joint Case):

C) | have not used any business names or EINs.

 

Business name

Business name

 

Business name

aN

EIN

Business name

sin

EN

 

5. Where you live

 

{Slo bd Aw. East

If Debtor 2 lives at a different address:

 

 

 

 

 

Number Street Number Street
Qeadunden FL 34993 |
Gry State ZIP Code City State ZIP Code )
te. |
County Gounty

If your mailing address is differant from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

if Debtor 2's mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

6. Why you are choosing
this district to file for
bankruptcy

 

Nuriber Street Number Street

P.O. Box P.O. Box

City State Z1P Code City State ZIP Cade
Check one: Check one:

i over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

(3 | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

(J Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

(2 | have another reason. Explain.
(See 28 U.S.C. § 1408.3

 

 

 

 

 

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 2

 
Case 8:19-bk-03039-RCT Doc1 Filed 04/03/19 Page 3 of 8

 

 

 

Debtor 1 Case number (¢ tnown,
Purge Mas Didi Nore Lim Nar
Tell the Court About Your Bankruptcy Case
7. The chapter of the Check one, (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
Bankruptcy Code you for Bankruptcy (Form 2010), Also, go to the top of page 7 and check the appropriate box,
are choosing to file
under Al Chapter 7

LL] Chapter 11
C) Chapter 12
Chapter 13

8. How you will pay the fee ©] | will pay the entire fee when | file my petition. Please check with the clerk's office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

ft need to pay the fee in installments. If you choose this option, sign and attach the
Application for individuals to Pay The Filing Fee in Installments (Official Form 103A).

C] | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition.

 

 

 

 

 

9. Have you filed for SI No
bankruptcy within the .
last 8 S$? fal Yes. District Flonda tlsddle When t t8 Case number 7 ke (3@ cae.
ast 8 year:
MM/ DDI YYYY
Oistrict Flenda. U sddle. When F. Case number ZS Ql 4 bl él ~
; MM/ DDIYYYY
Enstrict f loci Hdd] Véhen q / u /18 Case number t 1 ble é lL 2 { RET
MMT DD /YYYY
10. Are any bankruptcy & No
cases pending or being ~
filed by a spouse whoa is Ch yes, Debtor Relationship to you
not filing this case with District Wher Case number, if known .
you, or by a business MM /DD LYYYY
partner, or by an
affiliate?
Deter Relationship to you
District Vehen Case number. if known. ~
MM /DDIYYYY
11. Do you rent your EPNo. Go totine 12.
residence? C] Yes. Has your landlord obtained an eviction judgment against you?

Tl No. Go to tine 12.

Cl Yes. Fill cut Initiaf Statement About an Eviction Judgment Against You (Form 701A) and file it as
part of this bankruptcy petition.

Official Forrn 101 Voluntary Petition for Individuals Filing for Bankruptcy page 3

 

 
 

Case 8:19-bk-03039-RCT Doc1 Filed 04/03/19 Page 4 of 8

Debtor 1 Case number (¢ known},

 

Fuat Name Middle Nore Laat hans

Report About Any Businesses You Own as a Sole Proprietor

 

12. Are you a sole proprietor (©) No. Go to Part 4.
of any full- or part-time
business? Cl yes. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as

a Corporation, partnership, or ~
LLC. Number Street

 

Name of business, if any

 

Hf you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petaion.

 

 

City State ZIP Cade

Cheek the appropriate box to describe your business:

O) Health Care Business (as defined in 11 U.S.C. § 101(27A})
a Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B)}
CI Stockbroker (as defined in 11 U.S.C. § 101(53A))

a} Commodity Broker (as defined in 17 U.S.C. § 101(6))

C] None of the above

13, Are you filing under if you are filing under Chapter 11, the court must know whether you are a smail business debtor so that it
Chapter 11 of the can set appropriate deadlines. \f you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sneet, statement of operations, cash-flow statement, and federal income tax return orif
are you a small business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(4){B).
debtor?

No. [am not filing under Chapter 44.
For a definition of small ¥ 4 pe
business debtor, see CY No. | am filing under Chapter 11, but lam NOT a small business debtor according to the definition in
14: U.S.C. § 101(51D), the Bankruptcy Code.

Cl yes. 1am filing under Chapter 11 and | am a small business debtor according to the definition in the
Bankruptcy Code.

ea Report if You Qwn or Have Any Hazardous Property or Any Property That Needs Immediate Attention

 

14. Do you own orhave any = Ad No
property that poses ar is
alleged to pose a threat “Yes. What is the hazard?

 

of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any

t t . , ea te
property that needs H immediate attention is needed, why is t needed?

 

immediate attention?
For example, do you own

 

perishable goods, or livestock
ihat must be fed, or a building
that needs urgent repairs?

Where is the propery?

 

Number Street

 

 

City State ZIP Code

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 4

 
Case 8:19-bk-03039-RCT Doc1 Filed 04/03/19 Page 5 of 8

Dedtor 4

 

Fugit Nore Beige Marve

Latat Nantes

Case number ot anon;

 

Explain Your Efforts to Receive a Briefing About Credit Counseling

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you ate net
aligible to file.

If you fle anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

 

About Debtor 1:

You must check ona:

Cd | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

BI received a briefing from an approved credit
counseling agency within the 180 days before 1
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition.
you MUST file.a copy of the certificate and payment
plan, if any.

CI certify that I asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after 1 made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it befdre you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy,

if the court is satisfied with your reasons, you must
stil receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency. along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be disrnissed,

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

C) t am not required to receive a briefing about
credit counseling because of:

Q Incapacity. | have a menial illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

Q Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

C) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

Cd received a briefing from an approved credit
counseling agency within the 180 days before I
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan. if any, that you developed with the agency.

CL] I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

Ohi certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you Were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan vou
developed, if any. If you do not do so, your case
may be dismissed,

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 18
days.

Cl tam not required to receive a briefing about
credit counseling because of-

] Incapacity. | have a mental illness or a mental
deficiency thet makes me
incapable of realizing or making
rational decisions about finances.

a Disability. My physical disability causes me
to be unable to participate in a
brieving in person, by phone, or
through the internet, even after |
reasonably tried to do so.

C) active duty. | am currently on active military
duty in @ military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Bankruptcy page §

 
Debtor 1

Ea Answer These Questions for Reporting Purposes

16.

17.

Case 8:19-bk-03039-RCT Doc1 Filed 04/03/19 Page 6 of 8

 

Furst \ace Maddie Nome

What kind of debts do
you have?

Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is
excluded and
administrative expenses
are paid that funds will be
available for distribution

Last Name

Case number (¢ crows)

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

C No. Go te line 16b.
BY Yes. Go to line 17.

‘8b. Are your debts primarily business debts? Susiness debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

Rd No. Go to line 16c.
Q Yes. Go to line 47.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

CI) No. lam not filing under Chapter 7. Go to line 18.

if Ves. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will oe available to distribute to unsecured creditors?

$2 No

wl Yes

to unsecured creditors?

18,

19.

20.

How many creditors do
you estimate that you
owe?

 

How much do you
estimate your assets to
be worth?

How much do you
estimate your liabilities
to be?

Sign Below

For you

laf 1-49
C] 50-99
wd 100-799

E2099

C] $0-380,000
OQ $50,001-8100,000
BA $100,001-$500,000

$500,001-31 million

C) s0-$50,000

C] $50,001-$100,c00
CI $100,001-$506,000
[ef $500,001-$7 million

CJ +,000-5,000

Cl] §,007-10,000
td 10,001-25,000

Ul $1,000,001-370 million

2] $10,000.007-35¢ million
CY $50,000,001-$100 million

C7 $100.000,001-$500 million

C) $1,000,001-$10 mitiion

C1 $10,000,001-$50 million
LI $50,000,001-$100 million
Cl $1400,000,001-$800 million

 

C) 25,001-50,000

CJ 50,001-100,000
CJ More than 100,000

i] $600,000,001-81 billion

(1 $1,000,000,061-S10 billion
CJ $10,000,000,001-$50 billion
(2 More than $50 billion

(2) $500,000,001-$1 billion

C) $1,000,000,001-810 billion
CJ $10,000,000,001-$50 billion
(J More than $50 billion

 

 

Official Form 101

| have examined this petition, and | declare under penalty of perjury that the information provided is true and

correct.

lf | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 14, United States Code. | understand the relief available under each chapter, and | choose to proceed

under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(5).

| request relief in accordance with the chapter of tite 11, United States Code, specified in this petition.

| understand makin
with a bankruptcy
18 U.S.C. §§ 152

    
 
 

x

 

e oo
Signature’et febtor 1

Executed ny 0 Li 7
MM EY DD

; Zol 4

Voluntary Petition for Individuals Filing for Bankruptcy

gnent. concealing property, or obtaining money or property by fraud in connection
in fines up to $250,000, or imprisonment for up to 20 years, or both.
Ad 3571,

 

Executed on

Signature of Debtor 2

MM / OD /yYYY

page 6

 

 
Case 8:19-bk-03039-RCT Doc1 Filed 04/03/19 Page 7 of 8

Debtor 4 Case number gr knaway
Furst Nome daddin Mavis Lost Nani

|, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility
to proceed under Chapter 7. 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eligible. | also certify that | nave delivered to the debior(s)
the notice required by 11 U.S.C, § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no
If you are not represented knowledge after an inguiry that/fhe infgrmation in the schedules filed with the petition is incorrect.

by an attorney, you do not | } j f

need to file this page. x i of
4s Date

oA a
Signature of Attorney for Deator MM / BD 1YYYY

DAD aM (Te

Printed narne

Law (Gee Daud ) Sool

Firm name

020 Chore RA *Y(Q

Number Street

For your attorney, if you are
represented by one

 

 

 

Saurasode, PL AHAB >

City State dP Cade

Contact phone GYD af a . 30 a? S Email address dourd remelh bus. COM
We §7 FL

Bar number Stata

Official Form 101

Voluntary Petition for individuals Filing for Bankruptcy page 7

 

 
Case 8:19-bk-03039-RCT Doc 1 Filed 04/03/19 Page 8 of 8

Debtor 14

 

 

First Namo Kiddie Name

For you If you are filing this
bankruptcy without an
attorney

if you are represented by
an attorney, you do not
need to file this page.

ett nore SFY (2 2O4U- 22747, comacs prove

STEER ep et yprsies

Bou SO ORE Le 6 Tee A RE ed

Lost Namo

 

The law allows you, as an individual, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned,

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

Q No

QO yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

C) No

OQ Yes

Did you pay or agree to pay someone who is not an attomey to help you fill out your bankruptcy forms?
OC) No

Q) Yes. Name of Person .
Attach Bankrupicy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119). |

 

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and upd prstood this notice, and | am aware that filing a bankruptcy case without an

  

 

attorney may tolose my rights or property if | do not properly handle the case.
” {i z x
SignSturh ofebio 1 ——s Signature of Debtor 2
Date Of G Date
MM/OD 7YYYY MM? DD /YYYY

 

 

 

 

 

Official Form 101

Cell phone Cell phone
Emai address Email address
2 heer Se SAE ee CSR CoS oR dpa a ee cee soe pea ome er regen ge

 

 

 

Voluntary Petition for Individuals Filing for Bankruptcy

 

 
